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September 14, 2021

Honorable Edgardo Ramos
United States District Judge
Southern District of New York
40 Foley Square

New York, New York 10007

Re: United States v. David Pike, No. 17-cr-630 (ER)
Dear Judge Ramos:

This firm represents David Pike who has been charged in a criminal information with conspiracy
to commit bank fraud in violation of Title 18 USC §371. Bail has been set at $500,000 personal
surety and, among other standard conditions, Mr. Pike’s travel is restricted to the Southern
District of Florida and the Eastern and Southern Districts of New York. Mr. Pike has complied
with all conditions of his bond.

Mr. Pike would like to travel with his family to Puerto Rico from October 7 to October 11 to
visit with his parents-in-law and celebrate his wife’s birthday. Mr. Pike discussed this with

his Pretrial Services Officer, Nora Heredia-Burgos, who has no objection to such travel. He will,
of course, provide a full itinerary to PTS prior to travel.

I discussed this matter with Assistant US Attorney Nick Folly, who advises that the government
has no objection to this request.

Therefore, it is respectfully requested that the court enter an order allowing Mr. Pike to travel to
Puerto Rico with his wife and sons between October 7 to October 11, upon advance notice to
Pretrial Services.

Respectfully yours,

/s/Martin R. Raskin
MARTIN R. RASKIN

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